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                           UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                            :
                                                  :
         Michael L. Salat                         :      Case No.: 20-11961-amc
                                                  :
         Debtor(s)                                :      Chapter 13




                            ORDER GRANTING DEBTOR’S MOTION TO
                             MODIFY PLAN AFTER CONFIRMATION



         AND NOW, this ______ day of                                    , 2021 upon consideration of
the Motion to Approve Loan Modification and Modify the Chapter 13 Plan after Confirmation it is
hereby ORDERED and DECREED that the Loan Modification Agreement is Approved and the Chapter
13 Plan may be modified in accordance with the Debtor’s Motion;




          XXXXXXXXXXXXXX
         FURTHER ORDERED:




    Date: February 10, 2021                       ________________________
                                                  Ashely M. Chan
                                                  United States Bankruptcy Judge
